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Proh 12 (10/09)

 

vAE (r¢v. 5/\7)
UNITED STATES DISTRICT COURT
for the
EASTERN__DISTRICT OF VIRGINIA
U.S.A. vs. Dorothv Ann Duff Docket No. l:l7PO-3307

 

 

Petition on Probation

COMES NOW Daniellia B. Gilliam, PROBATION OFFICER OF THE COURT, presenting an official
report upon the conduct and attitude of Dorothv Ann Duff, who was placed on supervision by the Honorable
Theresa Carroll Buchanan, United States Magistrate Judge, sitting in the Court at Alexandria, Virginia, on the
M day of March, 2_01_8, who fixed the period of supervision at 2 years, and imposed the general terms and
conditions heretofore adopted by the Court and also imposed special conditions and terms as follows:

See Page 2

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

See Attachment(s)

PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause Why supervision should not be revoked.

RETURNABLEON= 7‘9’/'/5? C/O.'DUQ./V\

 

ORDER OF COURT l declare under the penalty of perjury that the
W/ foregoing is true and correct.
Considered and ordered this day of ,
20 §§ and ordered filed and made a pa of the Executed on:
records in the above case. 2018.07.10
fs/ M 3 w 15;09:15 -04'00'

 

 

   
  
 

Theresa rroll Buchanan Daniellia B. Gilliam
united rates Masis'ffat€ Jud@@ U.s. Probauon officer
703-366-2]45

 

 

Theresa C. Buchanan Place Manassas. Virginia
United States Magistrate Judge

TO CLERK'S OFFICE

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Petition on Probation or Supervised Release
Page 2
RE: DUFF, Dorothy Ann

OFFENSE: Driving Under the Influence of Alcohol and/or Drugs, in violation of Title 36, C.F.R., Section
4.23(a)(1).

SENTENCE: On March 8, 2018, Ms. Duff appeared before Your Honor for sentencing on the aforementioned
' offense. At that time, she was placed on 2 years supervised probation with the following special conditions:

1. The defendant (currently in custody) shall serve 4 months in jail with credit for time served;

2. The defendant shall enter and successfully complete an alcohol treatment and/or education program at
the direction of the probation officer;

3. The defendant may not operate a motor vehicle at all for the first year of probation. Upon the successful
completion of probation during the first year, the defendant may operate a motor vehicle for the second
year of probation only with an ignition interlock device and only (a) to and from work, (b) during the
course of work, if required as incident of employment (c) to and from this court, the probation office and
the alcohol treatment program;

4. The defendant may not consume alcohol and/or any drugs without a valid prescription;

5. The defendant shall pay a $500 fine, a $30 processing fee and a $10 special assessment fee, to be paid
Within 1 year after release fromjail.

ADJUSTMENT TO SUPERVISION: On May 3, 2018, Ms. Duff was released from the Bureau of Prisons to a
State detainer for pending charges. On May ll, 2018, she was released from State custody and probation
commenced that date.

Ms. Duff resides in Fairfax, Virginia, with her husband and is currently unemployed.

On June ll, 2018, Ms. Duff was evaluated at the Fairfax Alcohol Safety Action Program and it was
recommended that she participate in outpatient treatment.

VIOLATIONS: The following violations are submitted for the Court’s consideration:
CONDITION 7: USE OF PHENCYCLIDINE
On June 21 and 25, 2018, Ms. Duff submitted urine specimens which were positive for phencyclidine.

On June 25, 2018, during an office visit, Ms. Duff admitted to this officer that she had used on two separate
occasions.

DBG/cmf

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VAE (rev. 5/17)

